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                     IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF TEXAS

                                  MARSHALL DIVISON

   LESTER GLOVER,                                  §
                                                   §
      Plaintiff,                                   §
                                                   §         CIVIL ACTION NO.
   VS.                                             §
                                                   §
   GOVERNMENT EMPLOYEES                            §              2:15-CV-381
   INSURANCE COMPANY                               §
                                                   §
      Defendant.                                   §


                               NOTICE OF SETTLEMENT



         COMES NOW Plaintiff Lester Glover and files this Notice of Settlement and

would respectfully show as follows:

         Plaintiff hereby notifies the Court that all matters in controversy have been fully

and finally settled. The Defendant shall prepare the final settlement documents to be

executed by the Parties. The Parties contemplate that all documents shall be exchanged

and funds tendered within thirty days. As this represents a final settlement, the parties

will submit the appropriate documents within thirty days or sooner if directed by the

Court, to effectuate a dismissal with prejudice.




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                                         Respectfully Submitted,

                                                /s/ Matthew B. Flanery
                                         MATTHEW B. FLANERY Lead Attorney
                                         State Bar No. 24012632
                                         DARREN GRANT
                                         State Bar No. 24012723
                                         GRANT & FLANERY, P.C.
                                         216 W. Erwin, Suite 200
                                         Tyler, Texas 75702
                                         (903) 596-8080 (Telephone)
                                         (903) 596-8086 (Facsimile)
                                         Matt@GFTexas.com

                                         ATTORNEYS FOR PLAINTIFF




                            CERTIFICATE OF SERVICE

       I hereby certify that I furnished a copy of this notice on August 5, 2015 to all

  counsel of record via Electronic Filing Procedure.



                                              /s/ Matthew B. Flanery
                                         MATTHEW B. FLANERY




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